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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-03764-CMA-KLM

   GERALD MAESTAS,

          Plaintiff,

   v.

   CITY AND COUNTY OF DENVER,

          Defendant.


                       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


          Pursuant to F.R.C.P. 56 and CMA Civ. Practice Standard 7.1E, Defendant moves the Court

   to enter summary judgment on the claims asserted in Plaintiff’s Complaint and Jury Demand.

                                                I.
                                          INTRODUCTION

          The Court should grant summary judgment because Plaintiff is not a victim of

   discrimination or retaliation. Instead, the undisputed facts show Plaintiff was fired from his

   position as an accountant supervisor with the Denver Police Department because he, in fact, was

   the person making inappropriate comments towards his coworkers and subordinates. After a co-

   worker alleged he had sexually harassed her, the City conducted a thorough investigation which

   revealed many instances of sexually inappropriate conduct and statements Plaintiff made toward

   many employees. To avoid termination, Plaintiff deflected blame and made allegations against a

   subordinate that the City also investigated, but Defendant could not corroborate. Because Plaintiff

   was the perpetrator, and not a victim, of sexual harassment and of creating a hostile work

   environment, he was fired and summary judgment is appropriate on all of Plaintiff’s claims.
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                                        II.
                      STATEMENT OF UNDISPUTED MATERIAL FACTS

           A.    Investigation of Stephanie Johnson’s Allegations and Basis for Plaintiff’s
                 Termination.

           1.     Plaintiff began working for the City on February 13, 2006, as a Senior Accountant,

   and his position was reclassified as a supervisor in 2016. (Movant’s Appx., p. 4, Plf. Dep. at 5:16-

   7:2).

           2.     Throughout his employment, Plaintiff’s supervisor was Jeannie Springer, DPD

   Finance Manager. (Movant’s Appx., p. 56, Springer Decl., ⁋1). When Ms. Springer was out of the

   office, Plaintiff was acting Finance Manager. Id.

           3.     On March 3, 2016, Stephanie Johnson began working for the City as a Grant

   Administrator, reporting directly to Ms. Springer. (Movant’s Appx., p. 60, Johnson Dec., ⁋1).

           4.     Plaintiff supervised Aaron Blaszczyk, Eric Barela, Jonathan Newcomb, Jo Ellen

   Meyer and Derek Cary. (Movant’s Appx., p. 5, Plf. Dep. at 6:10-7:2). He did not supervise Ms.

   Johnson except when he served as acting Finance Manager when Ms. Springer was out of the

   office. (Movant’s Appx., p. 56, Springer Dec., ⁋1).

           5.     On October 25, 2018, Ms. Springer met with Ms. Johnson to discuss Plaintiff’s

   allegations that Ms. Johnson was sharing employee salary information and was putting her feet on

   Plaintiff’s desk. (Movant’s Appx., p. 60, Johnson Dec., ⁋3). Ms. Johnson responded by raising

   concerns about inappropriate conduct by Plaintiff. Id.

           6.     On October 31, 2018, Ms. Johnson provided Ms. Springer a document alleging that

    Plaintiff engaged in the following conduct:

           Said Ms. Johnson had “big booty denial/BBD,” called her “pumpkinhead,”
           accusing her of having “incestual” family members; compared her life to a book

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             called Flowers in the Attic involving an incestual family; claimed he wanted to hire
             an interview candidate because she had “big tits,” and that Ms. Johnson’s “tits”
             were not big; described his ideal woman as having “big tits” and a small waist;
             said that “women belong in the kitchen” and “it’s a scary time for men” because
             women falsely report sexual assault; he has sex with women but will not allow them
             to stay overnight; asked Ms. Johnson, after she had dyed her hair, whether “the
             carpet matched the curtains,” a reference to her pubic hair; questioned a friendship
             with a male colleague, Aaron Blazcyzk, telling people she wanted to be “Mrs.
             Blazcyzk;” talks negatively about co-workers behind their backs; initiated a
             conversation about women peeing after sex and accused Mr. Blaszcyk of being gay
             because he was not aware of this practice; stated that Mr. Blaszcyz and colleague
             Darek Cary were gay because they had cats; asked Ms. Johnson if she knew about
             “dinosaur erotica” and showed her several online sites referencing it. (Movant’s
             Appx., p. 60, Johnson Decl., ⁋4; p. 65-66, Johnson Memo).

             7.      Ms. Springer contacted Human Resource Manager Allison Hamel that night.

       (Movant’s Appx., p. 57, Springer Dec., ⁋5). The next day, Plaintiff was placed on paid

       investigatory leave. (Movant’s Appx., p. 45, Plf. Dep. at 126:3-4.)

              8.     Ms. Hamel and Employee Relations Specialist Becky Lambert began their

   investigation by interviewing Ms. Johnson, as well as Plaintiff’s subordinates Jo Ellen Meyer,

   Aaron Blaszczyk, Derek Cary, Holly Boyd, and Eric Barela 1. (Movant’s Appx., p. 67, Hamel

   Decl., ⁋3; pp. 70-71, Lambert Decl., ¶¶ 3,6).

              9.     All these employees reported to the investigators that they heard Plaintiff make the

   following comments:

             a.      Blaszczyk and Cary were gay because they had cats and/or did not wear socks and
                     shared a hotel room on a work trip (Movant’s Appx., p. 62, Johnson Decl. at ⁋ 19;
                     p. 72, Barela Decl. at ⁋ 4; p. 75, Blaszczyk Decl. at ⁋ 4; p. 79, Boyd Decl. at ⁋3; p.
                     83, Cary Decl. at ⁋ 9-10; p. 87, Meyer Decl. at ⁋ 7);
             b.      People with shiny shoes were gay (Movant’s Appx., p. 62, Johnson Decl. at ⁋ 26;
                     p. 72, Barela Decl. at ⁋ 4; p. 75, Blaszczyk Decl. at ⁋ 4);




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    Plaintiff’s supervisor, Jeannie Springer, was also interviewed. She denied hearing any of the inappropriate
   comments alleged by any of the witnesses. (Movant’s Appx., p. 57, Springer Dec., ⁋6)

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        c.    Johnson had “BBD” or “big butt denial” (Movant’s Appx., p. 61, Johnson Decl. at
              ⁋ 6; p. 76, Blaszczyk Decl. at ⁋ 6; p. 79, Boyd Decl. at ⁋ 3; p. 86, Meyer Decl. at ⁋
              7; p. 82, Cary Decl. at ⁋ 6);
        d.    Plaintiff’s ideal woman had large breasts and a tiny waist and that women belong
              in the kitchen, cleaning and cooking (Movant’s Appx., p. 61, Johnson Decl. at ⁋7;
              p. 76, Blaszczyk Decl. at ⁋ 10; p. 79, Boyd Dec. at ⁋5, p. 83, Cary Decl. at ⁋11; p.
              87, Meyer Decl. at ⁋ 8-9);
        e.    Women who don’t work out every day should not wear leggings because they have
              “craters” (Movant’s Appx., p. 61, Johnson Decl. at ⁋ 10; p. 76, Blaszczyk Decl. at
              ⁋ 6; p. 79, Boyd Decl. at ⁋ 5);
        f.    The “Me Too” movement is a scary time for men because women falsely accuse
              men of sexual assault; talked about having sex with women and leaving their homes
              (Movant’s Appx., p. 61, Johnson Decl. at ¶ 7 and 13, p. 76, Blaszczyk Decl. at ¶¶
              11 and 12; p. 83, Cary Decl. at ¶¶ 11 and 14);
        g.    Plaintiff called Johnson “pumpkinhead,” implying her family was incestual, a
              reference to the book Flowers in the Attic (Movant’s Appx., p. 61, Johnson Decl.
              at ⁋8; p.76, Blaszczyk Decl. at ⁋ 7; p. 79, Boyd Dec. at ⁋6; p. 83, Cary Decl. at
              ⁋8);
        h.    Plaintiff called Johnson “Mrs. Blaszczyk” and referred to her and Blaszczyk as
              “lovebirds” or “co-horts” and implied she and Blaszczyk were having sex and
              teased them about it (Movant’s Appx., p. 61, Johnson Decl. at ⁋ 11; p. 72-73, Barela
              Decl. at ⁋ 5; p. 75-76, Blaszczyk Decl. at ⁋ 5; p. 83, Cary Decl. at ⁋ 12);
        i.    Plaintiff suggested Meyer was a lesbian (Movant’s Appx., p. 61, Johnson Decl. at
              ⁋ 12; p. 76, Blaszczyk Decl. at ⁋ 13; p. 83, Cary Decl. at ⁋ 13);
        j.    Plaintiff saw Johnson dyed her hair and asked if the “carpet matched the drapes,”
              (Movant’s Appx., p. 61, Johnson Decl. at ⁋ 14; p. 76, Blaszczyk Decl. at ⁋ 9);
        k.    Plaintiff discussed women urinating after sex and accused Blaszczyk of being a
              virgin because for being unaware of that fact (Movant’s Appx., p. 62, Johnson Decl.
              at ⁋ 18);
        l.    Plaintiff talked about dinosaur erotica and pulled up pictures of it on the internet
              (Movant’s Appx., p. 62, Johnson Decl. at ⁋ 20);
        m.    Plaintiff talked about hating the Crime Lab, deliberately interfering with its work,
              and ignoring calls (Movant’s Appx., p. 62, Johnson Decl. at ⁋17; p. 73, Barela Decl.
              at ⁋ 8; p. 80, Boyd Decl. at ⁋ 9; p. 87,Meyer Decl. at ⁋ 13);
        n.    Plaintiff told Cary’s colleagues that Cary was not doing a good job and he was
              docking Cary’s performance review for poor performance Attic (Movant’s Appx.,
              p. 62, Johnson Decl. at ⁋16; p. 76, Blaszczyk Decl. at ⁋ 14; p. 79, Boyd Dec. at ⁋6;
              pp. 83-84, Cary Decl. at ⁋16; p. 73, Barela Decl. at ¶9; p. 87, Meyer Decl. at ⁋ 12);
        o.    Plaintiff encouraged Newcomb to have sex with older women for financial benefit
              (Movant’s Appx., p. 62, Johnson Decl. at ⁋ 17; p. 73, Barela Decl. at ⁋ 6);
        p.    Plaintiff discussed working for a store that sold child porn and “furry parties” where
              people dress as animals and have sex (Movant’s Appx., p. 73, Barela Decl. at ⁋ 7);
        q.    Plaintiff talked about 80s TV shows, calling them “jiggle or booby vision”
              depicting women’s’ breasts (Movant’s Appx., p. 76, Blaszczyk Decl. at ⁋ 10);

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          r.      Plaintiff placed a lollipop between the legs of a teddy bear on Boyd’s desk to give
                  it a penis (Movant’s Appx., p. 80, Boyd Dec. at ⁋7);
          s.      Plaintiff called Meyer stupid to her face (Movant’s Appx., p. 87, Meyer Decl. at ⁋
                  10); and
          t.      Plaintiff favored Newcomb and gave him a more flexible schedule than other
                  employees (Movant’s Appx., p. 73, Barela Decl. at ⁋ 6; p. 84, Cary Decl. at ⁋ 17).

          10.     Plaintiff’s subordinate Jonathan Newcomb told the investigators the following

   facts: Plaintiff called Ms. Johnson “BBD” and said she had a big butt; Plaintiff called Ms. Johnson

   a “pumpkinhead,” referencing a book about incest; said he liked big-breasted women and

   discussed having sex with them and leaving afterward. (Movant’s Appx., p. 89-116, Newcomb

   Trans. at lines 346-376, 436-492, 656-663, 967-971).

          11.     Plaintiff admitted during his December 4, 2018 interview to making the following

   statements: Mr. Cary was gay because he did not wear socks; he (Plaintiff) preferred women with

   big breasts; he had sex with women and left their homes without staying the night. Plaintiff also

   conceded that he talked about “jiggle TV” featuring women bouncing up and down. He also

   admitted discussing “pumpkinheads” with Ms. Johnson, implying she is a product of incest in

   reference to a book called Flowers in the Attic. Finally, he conceded telling Johnson about dinosaur

   erotica and showing her pictures of it on the internet. (Movant’s Appx., p. 117-182, Plf’s 12-4-18

   Interview Trans. at lines 834-853, 1298-1310, 1341-1356,1519-1538, 1683-1753, 1891-1903).

           12.    During this interview, Plaintiff alleged that Johnson engaged in inappropriate

   conduct such as putting sticky notes on her breasts, asking him how her butt looked, pulling up her

   dress, calling him gay, saying she hated gay men, and drawing a picture of her boyfriend’s penis.

   He claimed he told Ms. Springer about the “gay” comments but she did not want to hear his other

   concerns. (Id. at lines 970-1000, 929-937, 970-971, 834-836, 1040 -1058, 2052-2065, 1062-1090).



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            13.     Ms. Hamel and Ms. Lamber investigated these allegations, re-interviewing Mr.

   Blaszczyk, Ms. Springer, and Ms. Johnson 2. (Movant’s Appx., p. 70, Lambert Dec., ⁋4). Mr.

   Blaszczyk agreed that Ms. Johnson once drew a picture of a penis, but denied that the picture was

   of her boyfriend’s penis. He said that she drew the penis because it came up that she did not know

   what an uncircumcised penis looks like. (Movant’s Appx., p. 77, Blaszczyk Dec., ⁋19). None of

   Plaintiff’s other allegations were corroborated. (Movant’s Appx., p. 70, Lambert Dec., ⁋5).

            14.     On December 19, 2018, Ms. Hamel issued a memo to DPD Division Chief Ron

   Saunier summarizing the investigation and concluding that Maestas violated relevant EEO

   policies. (Movant’s Appx., p. 67, Hamel Dec., ⁋4; p. 188-191, 12/19/18 Memorandum).

            15.     On December 31, 2018, Plaintiff was served with a Contemplation of Discipline

   letter. (Movant’s Appx., p. 192-197, Contemplation of Discipline Letter). He attended a

   predisciplinary hearing on January 9, 2019. (Movant’s Appx., p. 43, Plf. Dep. at 122:7-12). He

   provided a memo at that time. (Id. at p. 46-47, Plf. Dep. at 131:23-132:4; pp. 198-205, 1/9/19

   Memorandum).

            16.     Of note, in that meeting, Plaintiff admitted to the “shiny shoes” comment and to

   suggesting Newcomb date an older woman for financial gain. He alleged for the first time that

   Johnson called him a “Mexican” and a “bean counter,” and that he told Ms. Springer “on multiple

   occasions” about Johnson’s conduct. (Movant’s Appx., pp. 198-205, 1/9/19 Memorandum). He

   also stated that he did not complain to Human Resources prior to his predisciplinary hearing about




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     Johnson was re-interviewed as the alleged harasser, and Mr. Blaszczyk because Plaintiff claimed that he and Mr.
   Newcomb witnessed some of Johnson’s conduct. Mr. Newcomb was not re-interviewed because he was on Family
   and Medical Leave Act leave and then resigned. See (Movant’s Appx., p. 186, Newcomb Dep. at 12:12-18).

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   Ms. Johnson because he was “afraid it was going to create a whole investigation.” (Movant’s

   Appx., pp. 206-237, Predisciplinary Trans. at lines 1219-1236).

           17.     Plaintiff was terminated on January 24, 2019, for making inappropriate sexual

   references and other offensive comments, and for inappropriately discussing employee

   performance and creating conflict in the Crime Lab. (Movant’s Appx., pp. 238-242, Termination

   Letter). Chief Saunier made the decision to terminate Plaintiff based on the information gathered

   during the investigation and Plaintiff’s statements made at the pre-disciplinary hearing. The

   specific reasons for termination are included in the termination letter dated January 24, 2019.

   (Movant’s Appx., pp. 243-244, Saunier Decl. ¶5; p. 238-242, Termination Letter).

           B.      Allegations Plaintiff Made After the Decision to Terminate Him (In Deposition).

           18.     Prior to his deposition, Plaintiff always denied being homosexual. (Movant’s

   Appx., pp. 117-182, 12/4/18 Transcript, lines 1040 and 1060). In fact, he expressed hostility

   towards homosexuals, telling Ms. Johnson that he refused to attend his niece’s wedding to a

   woman because he did not approve of homosexuality. (Movant’s Appx., p. 63, Johnson Decl. ¶28.)

   Plaintiff claimed for the first time in his deposition that he is homosexual, then stated he identifies

   as “asexual,” meaning, he does not wish to have sex or be in a relationship with anyone. (Movant’s

   Appx., pp. 19 and 54-55, Plf. Dep. at 34:6-13;194:15-195:4).

           19.     Plaintiff also claimed that in Spring 2017 3, Johnson started calling him a

   “Mexican,” and a “bean counter” every day. (Id. at pp. 11-13, lines 16:3-18:22), but then clarified




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    But see Plaintiff’s December 4, 2018 interview transcript, Movant’s Appx., p. 160, L. 1977-1984, “I have
   never had any issues with any inappropriate comments until just recently and it’s all coming from
   Stephanie.”


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   that “it was very sporadic. It wasn’t very often. It was once in a great while and it got worse in the

   end.” (Id. at pp. 42-43, lines 104:22–106:8). He was not offended when Newcombe called him a

   Mexican. (Id. at pp. 7-13, Plf. Dep. at 12:16-18:25). Per Plaintiff, the only employee who heard

   Ms. Johnson’s comments was Newcomb. (Id. at pp. 13-14, Plf. Dep at 18:23-19:23). He did not

   report them to Ms. Springer because he believes she is racist. (Id. at p. 18, Plf. Dep. at 24:6-11).

          20.     Plaintiff claimed that in Spring 2017, Johnson began calling him gay nearly every

   day. (Id. at pp. 20-22, Plf. Dep. at 36:8-38:11), and that in Fall 2018, she put her feet on his chair

   wearing see through underwear and he could see her vagina. (Id. at p. 23, Plf. Dep. at 40:1-18).

          21.     Plaintiff claimed that two or three times in Fall 2018, Johnson put sticky labels or

   Post-Its on her breasts, and that she once pulled down her blouse. Plaintiff claimed that Newcomb

   observed her putting sticky labels or Post-Its on her breasts, but not pulling down her blouse. (Id.

   at pp. 23-38, Plf. Dep. at 40:15-45:10).

          22.     Plaintiff claimed in his deposition that he tried to talk to Ms. Springer in Spring

   2018 about Ms. Johnson referring to Ms. Meyer as a lesbian but admitted that he did not tell her

   about any other comments Ms. Johnson allegedly made. (Id. at p. 30, Plf. Dep. at 77:16-:3).

          23.     Plaintiff also claimed that in August or September 2018, he tried to talk to Ms.

   Springer about a conversation between him, Mr. Blaszczyk, and Ms. Johnson, about women peeing

   after sex, and Mr. Blaszczyk saying that he was “like a turtle” when his attractive female doctor

   had him remove his boxers. Plaintiff claimed that Ms. Springer said she didn’t want to hear it. (Id.

   at p. 29 and 34-35; Plf. Dep. at 48:2-12; 81:4-82:13).

          24.     Plaintiff next tried to talk to Ms. Springer a few weeks before his termination “about

   Stephanie’s behavior.” (Id. at pp. 35-37, Plf. Dep. at 82:14-84:9). He never sent her an email with


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   his concerns. (Id. at pp. 38-39, Plf. Dep. at 91:25-92:16). Plaintiff never went to Human Resources

   or another supervisor. After that conversation in mid-October, Johnson did not engage in any

   discriminatory conduct toward him. (Id. at p. 44, Plf. Dep. at 125:6-14).

          25.     Plaintiff admitted in his deposition that while at work he discussed previously

   working at a store that sold child pornography and to telling Ms. Johnson she wanted to be “Mrs.

   Blaszczyk.” (Id. at pp. 50, and 47-49; Plf. Dep. at 181:1-4; 132:22-134:6).

          C.      Relevant City and County of Denver Policies That Existed in 2018.

          26.     The City of Denver Career Service Rules apply to all civilian employees in the

   Denver Police Department and contain an EEO Policy which states:

          If an employee is subject to discriminatory, harassing, or retaliatory behavior from a co-
          worker, another city employee not in the employee’s chain of command, or an individual
          the employee encounters while performing their duties who is not employed by the City,
          the employee is strongly encouraged to:

                  i.     Make it clear to that person the behavior is offensive or makes the
                         employee uncomfortable and ask that individual to stop; if the
                         inappropriate behavior happens again, the employee must report the
                         behavior to a supervisor and/or human resource representative, or
                         both; or
                  ii.    Report the behavior to a supervisor, a human resource
                         representative, or through any mechanism set up by the City for
                         reporting such complaints, or all of the above; or

          If the individual alleged to have committed the discriminatory, harassing, or
          retaliatory behavior is a City employee,

                  iii. Request mediation by conducting OHR; or
                  iv.  File a grievance by completing the OHR grievance form and
                       delivering the grievance form to the appointing authority or an HR
                       representative of the employee’s department or agency, unless the
                       adverse employment action is subject to appeal.
           (Movant’s Appx., pp. 246-253, CSA Rule 16, p. 16-5).

          27.     The Department of Safety also has an EEO policy, which provides:


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                 Individuals who believe they are subjected to prohibited discrimination,
                 harassment, hostile work environment, and/or retaliation, if comfortable, are
                 encouraged to tell the offending employee that such behavior is offensive and
                 should be discontinued. If the individual does not feel comfortable and/or the
                 offensive conduct continues, the individual should report the behavior to one of
                 the individuals identified in A-D of this paragraph, below, immediately. All
                 Department of Safety employees are required to promptly report potential
                 violations of this policy so that appropriate actions may be taken. Potential
                 violations should be reported to any of the following:

                 a.     Any supervisor in the reporting employee’s or offending employee’s
                        agency or work unit, inside or outside the chain of command;
                 b.     The Internal Affairs Bureau for the reporting employee’s or offending
                        employee’s agency (available twenty-four hours a day, seven days per
                        week);
                 c.     The Safety Employee Relations Specialist, and/or;
                 d.     The Department of Safety, Human Resource Division.

   (Movant’s Appx., pp. 254-263, EEO Policy at p. 254).

          28.    The Policy further provides:

                 Supervisors and managers who become aware, by any formal or informal means,
                 of possible discrimination, harassment, or retaliation must take prompt, reasonable
                 actions to stop the prohibited behavior. Additionally, supervisors and managers
                 must promptly report any information concerning the possible prohibited behavior
                 to Safety Employee Relations Specialist and their agency head, unless the agency
                 head is the subject of the complaint. If the agency head is the subject of the
                 complaint, employees, supervisors, or managers must report the complaint directly
                 to the Employee Relations Specialist.
   Id.

          29.    The cover page of the Career Service Rules specifically disclaims any contractual

   relationship between the City and County of Denver and its employees. (Movant’s Appx., p. 268,

   Career Service Rules cover page).

          30.    Plaintiff filed an EEOC Charge on July 30, 2019. (Movant’s Appx., p. 264-267,

   Plaintiff’s EEOC Charge).

                                           III.
                          PLAINTIFF’S FIRST CLAIM FOR RELIEF:

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                       NATIONAL ORIGIN DISCRIMINATION (TITLE VII)

          A.      Burden of Proof and Elements Which Must Be Proven.

          Plaintiff must prove: (1) he is a member of a protected group; (2) he was subject to

   unwelcome harassment; (3) the harassment was based on national origin; (4) due to the

   harassment's severity or pervasiveness, the harassment altered a term, condition, or privilege of

   his employment and created an abusive working environment; and 5) Defendant had actual or

   constructive knowledge of the hostile work environment but did not adequately respond to notice

   of the harassment. Harsco Corp. v. Renner, 475 F.3d 1179, 1186 (10th Cir.2007) (alteration in

   original) (quoting Dick v. Phone Directories Co., 397 F.3d 1256, 1262 (10th Cir.2005)).

          B.      Plaintiff Cannot Prove Elements 4 or 5.

                  1.     Element 4: Severity or Pervasiveness

          The severity and pervasiveness of the alleged harassment should be viewed from the

   perspective of a reasonable person in the plaintiff's position, considering all the

   circumstances. Harris v. Forklift Systems, Inc., 510 U.S. 17, 22 (1993). Factors to consider

   include the frequency and of the conduct; whether it is physically threatening or humiliating, or a

   mere offensive utterance; and whether it unreasonably interferes with an employee's work

   performance. Harris, 510 U.S. at 23, 114 S.Ct. 367. Thus, the “plaintiff must show more than a

   few isolated incidents of racial enmity.” Landgraf v. USI Film Prods., 511 U.S. 244, 286, 114

   S.Ct. 1483, 128 L.Ed.2d 229 (1994)). “Instead of sporadic racial slurs, there must be a steady

   barrage of opprobrious racial comments.” Bolden v. PRC Inc.,43 F.3d 545, 551 (10th Cir.1994).

          Plaintiff alleges that in Spring 2017, Johnson began calling him a “Mexican” and a “bean

   counter” “very sporadically, once in a great while, and it got worse in the end.” SOF 19. However,


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   Plaintiff is not Mexican, and admits that it is not insulting to be called a “Mexican.” Id. See Harsco,

   supra, at 1187, citing Harris, supra (if the victim does not subjectively perceive the environment

   to be abusive, then the conduct has not altered the conditions of the victim's employment, and there

   is no Title VII violation).

           Plaintiff also does not claim that these alleged comments were physically threatening or

   humiliating, or that they altered a term, condition, or privilege or employment. He claims that

   when Johnson bothered him in his office, he would address it by walking around the building or

   doing his work later. (Movant’s Appx., pp. 53-54, Plf. Dep. at 227:12-228:8). However, he does

   not claim that he was required to work later because of Johnson’s conduct; rather, he admitted he

   worked a later schedule because it was easier to work on grants. (Id. at pp. 15-16, Plf. Dep. at

   20:19-21:17). He does not claim that he had to work overtime, was unable to complete his work,

   or that any other aspect of his employment was altered.

           Further, although Plaintiff claims the harassment began in Spring 2017, he cannot recover

   for any conduct occurring before October 3, 2019, 300 days before his July 30, 2019 EEOC

   Charge. Kahler v. Leggitt, 2019 WL 3928622 (D. Colo. 2019) (J., Martinez). He agrees that Ms.

   Johnson did not engage in any harassing conduct after mid-October, and he was placed on leave

   on November 1, 2018. SOF 7 and 25. Thus, the Court may only consider conduct that occurred

   between October 3, 2018, and mid-October, 2018. Several references to Plaintiff being a

   “Mexican” during that two-week period cannot rise to the level of hostile work environment.

           2.      Actual or Constructive Knowledge, and Failure to Respond

           Plaintiff cannot show that Defendant knew or should have known of the harassment and

   failed to adequately respond to it. To show actual knowledge, a plaintiff must show that he reported


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   harassment to management-level employees. Ford v. West, 222 F.3d 767, 775-776 (10th Cir.

   2000). To prove constructive knowledge, a plaintiff must show that the acts of harassment are “so

   egregious, numerous and concentrated as to add up to a campaign of harassment.” Id. at 776. The

   standard of proof for finding constructive knowledge under this element is higher than for the

   fourth element because it requires more than pervasiveness. Id.

           Defendant failed to report the alleged discriminatory comments to anyone until his

   predisciplinary hearing on January 9, 2019 – long after Ms. Johnson had made her allegations

   against Plaintiff and he had been placed on administrative leave, and only when trying to convince

   Defendant not to discipline him. Defendant had policies in place that provided multiple avenues

   for reporting any alleged harassment and which required Plaintiff, as a supervisor, to do so. See

   e.g. Mallinson-Montague v. Pocrnik, 224 F.3d 1224, 1228 (10th Cir. 2000) (where harasser is

   supervisor, employer may avoid liability by providing affirmative defense that employee failed to

   take advantage of corrective polies and exercised reasonable care in preventing harassment) 4. Yet

   Plaintiff did not take advantage of those opportunities to report the alleged harassment and because

   he failed to do so, Defendant cannot be held liable. See Ford at 776.

           Plaintiff also admitted that no one but Mr. Newcomb (his subordinate) heard the alleged

   comments. (SOF 19). There is no evidence that the comments made between October 3, 2018 and

   mid-October 2018 were “so egregious, numerous and concentrated so as to add up to a campaign

   of harassment.” 5 See Ford, supra, at 776. these complaints in his predisciplinary hearing on


   4
     While Defendant does not bear this burden, Plaintiff’s failure to take advantage of Defendant’s policy further
   underscores that it was not negligent in preventing and correcting harassment.
   5
     In fact, Plaintiff complains that Ms. Johnson allegedly harassed him by calling him a Mexican when he adamantly
   denies being Mexican, thereby harassing him not for who he was, but for who he wasn’t. It would be akin to a white
   person referring to another white person as Black: foolish and incorrect, but not harassing the white person for who
   the person was or his actual protected class.

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   January 9, 2019, he was already on investigatory leave. Because he was not in the workplace, he

   was not subject to the alleged discriminatory comments made by Ms. Johnson. See Adler v. Wal-

   Mart Stores, Inc., 144 F.3d at 676 (holding that where an employer takes action that was reasonably

   calculated to end the harassment, the response is reasonable). He cannot meet his burden to prove

   that Defendant’s actions were unreasonable.

          Moreover, Defendant did not have a duty to Plaintiff to take any additional actions after he

   reported Ms. Johnson’s alleged comments on January 9, 2019. By that point, Defendant had

   already learned from seven of Plaintiffs’ colleagues that Plaintiff made inappropriate comments

   himself which violated Defendant’s EEO policy and warranted his termination. Between January

   9, 2019 and January 24, 2019, Plaintiff was still on investigatory leave and not in the workplace.

   Plaintiff was terminated on January 24, 2019. (SOF 17.) Because Defendant terminated Plaintiff

   for legitimate, nondiscriminatory reasons, see Id., it owed no duty to Plaintiff to take steps to

   further investigate or “correct” the alleged harassment.

                                          IV.
                         PLAINTIFF’S SECOND CLAIM FOR RELIEF:
                                RETALIATION (TITLE VII)

          A. Burden of Proof and Elements Which Must Be Proven.

          In order to establish a prima facie case of retaliation, Plaintiff must show that “(1) that he

   engaged in protected opposition to discrimination, (2) that a reasonable employee would have

   found the challenged action materially adverse, and (3) that a causal connection existed between

   the protected activity and the materially adverse action.” Argo v. Blue Cross & Blue Shield of

   Kan., Inc., 452 F.3d 1193, 1202 (10th Cir.2006).

          B.      Plaintiff Cannot Prove Element 3 (Causal Connection).


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          A plaintiff may initially show that a causal connection existed if there was a temporal

   proximity between the protected activity and the materially adverse action. However, where an

   employer produces a legitimate, nondiscriminatory justification for taking the disputed

   employment action, the burden shifts back to the plaintiff to show that the employer’s proffered

   reasons are a pretext for discrimination. Stover v. Martinez, 382 F.3d 1064, 1071 (10th Cir. 2004).

   To prove pretext, a plaintiff must show that the employer’s proffered reason was so inconsistent,

   implausible, incoherent or contradictory that it is unworthy of belief. Id.

          Defendant concedes temporal proximity. However, Defendant terminated Plaintiff for

   legitimate, nondiscriminatory reasons: because six coworkers (and to a lesser extent, a seventh,

   Mr. Newcomb) corroborated Ms. Johnson’s complaints that he made offensive comments of a

   sexual nature over a period of years. SOF 9, 17. Prior to his termination, Plaintiff admitted to some

   of the comments. See SOF 7, 13 and 17. In his deposition, he admitted to more. SOF 27.

          However, rather than apologize for his behavior, he attributed most of the offensive

   comments to Ms. Johnson and claimed that she was “retaliating” against him for reporting her

   comments about employee salaries. SOF 15. These allegations were investigated and

   uncorroborated.

          The undisputed evidence shows that Chief Saunier terminated Defendant because he

   engaged in inappropriate, offensive conduct towards coworkers for which he took no

   responsibility, but instead deflected blame. SOF 17.

          In determining whether Defendant has articulated a legitimate, nondiscriminatory motive,

   courts should “examine the facts as they appear to person making the decision.” Rivera v. City &

   Cty. of Denver, 365 F.3d 912, 925 (10th Cir. 2004). The Court does not judge whether the


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   employer’s proffered reasons were “wise, fair, or correct, but whether it honestly believed those

   reasons and acted in good faith upon those belief.” Id. at 924-925. “Evidence that the employer

   should not have made the termination decision – for example, that the employer was mistaken or

   used poor business judgment – is not sufficient to show that the employer’s explanation is

   unworthy of credibility.” DePaula v. Easter Seals El Mirador, 859 F.3d 957, 968 (10th Cir. 2017).

   Plaintiff may disagree with Defendant’s decision to terminate him, but he has no evidence to refute

   Defendant’s legitimate, non-discriminatory motive for doing so. Plaintiff also cannot meet his

   burden to prove that Defendant’s decision was so inconsistent, implausible, incoherent or

   contradictory that it is unworthy of belief and therefore pretextual. Stover, 382 F. 3d at 1071.

            Because Plaintiff cannot establish a causal connection between his complaints and his

   termination, the Court should grant summary judgment on his retaliation complaint.

                                              V.
                           PLAINTIFF’S THIRD CLAIM FOR RELIEF:
                                        42 U.S.C. 1981

          A. Burden of Proof and Elements Which Must Be Proven.

          To prevail on a 42 U.S.C. § 1981 claim, the Plaintiff has the burden to prove: (1) the

   existence of a contractual relationship, as well as all the other elements of a hostile work

   environment claim under Title VII, including that (2) he is a member of a protected group; (3) he

   was subject to unwelcome harassment; (4) the harassment was based on race; (5) due to the its

   severity or pervasiveness, the harassment altered a term, condition, or privilege of the plaintiff's

   employment and created an abusive working environment, and (6) Defendant had actual or

   constructive knowledge of the hostile work environment but did not adequately respond to it.

   Domino’s Pizza v. McDonald, 126 S.Ct. 1246, 1250 (2006); Aramburu v. Boeing Co., 112 F.3d


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   1398, 1410 (10th Cir.1997); Harsco Corp. v. Renner, 475 F.3d 1179, 1186 (10th Cir.2007).

           B.       Plaintiff cannot prove elements 1, 5, or 6.

           Section 1981 prohibits discrimination on account of race in “the making, performance,

  modification, and termination of contracts, and the enjoyment of all benefits, privileges, terms, and

  conditions of the contractual relationship.” 42 U.S.C. § 1981(b).

           1.       No contractual relationship.

           First, Plaintiff cannot demonstrate the existence of a contractual relationship with

  Defendant because he, like almost all City and County of Denver employees, was an at-will

  employee. Although the Tenth Circuit has not yet addressed whether or not an at-will employee has

  a contractual relationship with its employer under Colorado law, 6 this Court has addressed the issue

  a few times.      In Hussein v. Regents of Univ. of Colo., 2000WL2475292 (D.Colo. 2006)(J.

  Wantanabe), an at-will budget office employee claimed his employer terminated him because of

  his race. The Court granted the employer’s motion for summary judgment, explaining that Section

  1981 offers relief when racial discrimination:

            . . . impairs an existing contractual relationship, so long as the Plaintiff has or
           would have rights under the existing or proposed contractual relationship. . . [I]n
           other words, Plaintiff cannot state a claim under Section 1981unless he has (or
           would have) rights under the existing (or proposed) contract that he wishes to make
           and enforce. Therefore, Plaintiff must identify an impaired contractual relationship
           under which he had rights in order to pursue a claim under Section 1981.

           Id. at *4-5.

            Similarly, in Solis v. Circle Group, LLC, 2017 WL 1246487 (D. Colo. 2017) (J. Jackson),


   6
    In Perry v. Woodward, 199 F.3d 1126, 1133 (10th Cir. 1999), the Court held that under a specific New Mexico law,
   an at-will employee and an employer have a contractual relationship that could support a §1981 claim. This Court has
   held that the New Mexico law, and therefore the Tenth’s Circuit holding in Perry, do not apply to a Colorado case
   because Colorado does not have an equivalent law. See Solis v. Circle Group, LLC, 2017 WL 1246487 (D. Colo.
   2017) (J. Jackson) at *3.

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   this Court held that where there is no written or oral contract between an employer and employee,

   a plaintiff cannot sustain a Section 1981 claim.

          In contrast, in Ingila v. Dish Network, LLC, 2015 WL 729390, *3 (D. Colo. 2015) (J.

   Krieger), the Court held that the at-will employment relationship is contractual and therefore may

   give rise to a Section 1981 claim. Ingila, relied on a Colorado Supreme Court case, Lucht’s

   Concrete Plumbing, Inc. v. Horner, 255 P.3d 1058, 1061 (Colo. 2011), for the proposition that

   employment at-will is contractual in nature, “albeit a contract that either side may terminate at any

   time without notice or cause…” Ingila, 2015 WL 729390 at 3. However, the issue in Lucht’s was

   whether a non-compete agreement created contractual rights. Lucht’s, 255 P.3d at 1062-1063. The

   Court concluded that because the non-compete agreement was negotiable at any time it therefore

   was a contract and at-will employment in that scenario was, in fact, contractual. Id.

          The facts in Lucht’s are not present here. There was no non-compete agreement and

   Plaintiff was an at-will employee. The first page of the Career Service Rules that govern the

   employment of civilian Denver Police Department employees (and almost all City employees)

   emphasizes the nature of the employment relationship:

                  Important – Disclaimer: The Career Service Rules do not create
                  or constitute any contractual rights between or among the City and
                  County of Denver, the Career Service Board, the Office of Human
                  Resources, and any employee or applicant for employment.
                  (Emphasis in original.)

   (Movant’s Appx., p. 268, CS Rules Cover Page).

          Thus, the Ingila court’s ruling does not apply here. This Court should instead adopt the

   same reasoning and conclusions reached by the Hussein and Solis courts, specifically that as an at-

   will employee, Plaintiff cannot satisfy the first element of a Section 1981 claim.


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          2.      Elements 5 and 6 Should Be Analyzed Using the Title VII Arguments, supra.

          Regarding elements 5 (severity or pervasiveness) and 6 (actual or constructive knowledge),

  these are the same elements necessary to prove a Title VII claim. Courts do not engage in separate

  analyses of these elements under Section 1981 than they do for the Title VII analyses because the

  same legal standards apply. Soutunde v. Safeway, Inc., 716 Fed.Appx. 758, 761 (10th Cir. 2017).

          Thus, Defendant respectfully requests that the Court consider and incorporate its evidence

  and arguments in Section III.B.1. and III.B.2, supra, to in support of summary judgment on

  Plaintiff’s Section 1981 claim on element 5 (severity or pervasiveness) and element 6 (actual or

  constructive knowledge). Because Plaintiff cannot prove elements 1, 5 or 6 of his Section 1981

  claim, the Court should grant summary judgment.

                                        VI.
                       PLAINTIFF’S FOURTH CLAIM FOR RELIEF:
                     GENDER AND SEXUAL ORIENTATION (TITLE VII)

          A.      Burden of Proof and Elements Which Must Be Proven.

          Plaintiff must prove: (1) he is a member of a protected group; (2) he was subject to

   unwelcome harassment; (3) the harassment was based on sex; and (4) due to the harassment’s

   severity or pervasiveness, it altered a term, condition, or privilege of the plaintiff’s employment

   and created an abusive working environment; 5) the employer had actual or constructive

   knowledge of the hostile work environment but did not adequately respond to it. Harsco Corp. v.

   Renner, 475 F.3d 1179, 1186 (10th Cir. 2007) (alteration and quotation omitted).

          B.      Plaintiff Cannot Prove Elements 1, 2 or 5.

          Plaintiff’s Complaint alleges he was discriminated against because of his “perceived sexual

   orientation (homosexual) and gender.” Complaint and Jury Demand, ECF No. 1, ¶ 45.


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          1.      Plaintiff Is Not a Member of A Protected Class.

          Before his deposition, Plaintiff denied being homosexual. SOF 18. Then in his deposition,

   Plaintiff initially claimed that he was homosexual, and within minutes backtracked to state that he

   is, in fact, “asexual.” SOF 18. “Asexuality” is not a protected class.

          Plaintiff appears to assert that Ms. Johnson harassed him because she perceived him to be

   homosexual. While the Supreme Court recognized homosexuality and transgender as protected

   classes under Title VII in Bostock v. Clayton, 140 S.Ct 1731 (2020), it did not go so far as to find

   that “perceived” homosexuality or transgender status are protected. “Perceived” homosexuality is

   not a protected class. Because asexuality and “perceived” homosexuality are not protected classes

   under Title VII, Plaintiff cannot prove this element and summary judgment should be granted.

          2.      Plaintiff Was Not Subjected to Unwelcome Harassment.

          Plaintiff cannot claim that the majority of the alleged conduct was unwelcome. He claims

   Ms. Johnson called him “gay” every day; however, he admits to calling Mr. Cary “gay” and

   perpetuating a stereotype that men who wear shiny shoes are “gay.” He cannot claim that the very

   conduct in which he engaged was “unwelcome.”

          5.      Defendant Had No Knowledge of Harassment or Failed to Adequately Respond.

          Plaintiff cannot show that Defendant knew or should have known of the harassment and

   failed to adequately respond to it.      Defendant hereby incorporates the same evidence and

   arguments made in Section III.B.2., supra.

                                                VII.
                                         CONCLUSION
          For the foregoing reasons, Defendant respectfully requests that the Court enter summary

   judgment in its favor on all of Plaintiff’s claims and dismiss this lawsuit.


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                                               KRISTIN GEORGE
                                               JESSICA R. ALLEN
                                               Assistant City Attorneys

                                               s/ Jessica Allen
                                               Denver City Attorney’s Office
                                               Employment and Labor Law Section
                                               201 W. Colfax Ave., Dept. 1108
                                               Denver, Colorado 80202
                                               Telephone: (720) 913-3125
                                               Facsimile: (720) 913-3182
                                               E-mail: dlefiling.litigation@denvergov.org
                                                       kristin.george@denvergov.org
                                                       jessica.allen@denvergov.org
                                               Attorneys for Defendant




                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on January 6, 2022, a true and correct copy of the

   foregoing Defendant’s Motion for Summary Judgment was filed with the Clerk of Court using the

   CM/ECF system, which will send notification of such filing to the following email address:

   Andrew T. Brake, Esq.
   3615 South Tamarac Drive
   Denver, CO 80237
   atbrake@gmail.com




                                               s/ Renee Castruita

                                               Denver City Attorney’s Office




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